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06                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
07                                      AT SEATTLE

08 UNITED STATES OF AMERICA,              )             CASE NO. CR04-512-MJP
                                          )
09         Plaintiff,                     )
                                          )
10         v.                             )             SUMMARY REPORT OF U.S.
                                          )             MAGISTRATE JUDGE AS TO
11   ELIZABETH KAY GUTIERREZ,             )             ALLEGED VIOLATIONS
                                          )             OF SUPERVISED RELEASE
12         Defendant.                     )
     ____________________________________ )
13

14          An evidentiary hearing on supervised release revocation in this case was scheduled before

15 me on January 29, 2009. The United States was represented by AUSA Tessa M. Gorman and the

16 defendant by Paula Semmes Deutsch. The proceedings were digitally recorded.

17          Defendant had been sentenced on or about April 28, 2006 by the Honorable Marsha J.

18 Pechman on a charge of Conspiracy to Commit Bank Fraud, and sentenced to 245 days custody,

19 with credit for time served, and 5 years supervised release. (Dkt. 370. )

20          The conditions of supervised release included the standard conditions plus the requirements

21 that defendant participate in drug testing and treatment, abstain from alcohol, submit to search,

22 participate in a mental health program, reside in and satisfactorily complete the SeaMar Recovery

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     TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE
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01 Center program, pay restitution in the amount of $25,462.85, provide access to financial

02 information, be prohibited from incurring new lines of credit or credit charges, and not possess any

03 identification documents in any but defendant’s true identity.

04          In an application dated January 9, 2009 (Dkt. 461), U.S. Probation Officer Tammy M.

05 White alleged the following violations of the conditions of supervised release:

06          1.       On October 6, 14, and 27, 2008, Ms. Gutierrez failed to report for urinalysis testing

07 as required by Evergreen Treatment Services, in violation of the special condition that she

08 participate in drug aftercare.

09          2.       On or before October 31, 2008, Ms. Gutierrez was terminated from Evergreen

10 Treatment Services in violation of the special condition that she participate in drug aftercare.

11          Defendant was advised in full as to those charges and as to her constitutional rights.

12          Defendant admitted the alleged violations and waived any evidentiary hearing as to

13 whether they occurred. (Dkt. 469.)

14          I therefore recommend the Court find defendant violated her supervised release as alleged,

15 and that the Court conduct a hearing limited to the issue of disposition. The next hearing will be

16 set before Judge Pechman

17          Pending a final determination by the Court, defendant has been released on the conditions

18 of supervision.

19          DATED this 29th day of January, 2009.



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21                                                   Mary Alice Theiler
                                                     United States Magistrate Judge
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     SUMMARY REPORT OF U.S. MAGISTRATE JUDGE AS
     TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE
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01 cc:    District Judge:         Honorable Marsha J. Pechman
          AUSA:                   Tessa M. Gorman
          Defendant’s attorney:   Paula Semmes Deutsch
02        Probation officer:      Tammy M. White
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     SUMMARY REPORT OF U.S. MAGISTRATE JUDGE AS
     TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE
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